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                                  132587



                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 __________________________________________
 IN RE: COOK MEDICAL, INC, IVC FILTERS
 MARKETING, SALES PRACTICES AND                Master Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                 MDL No. 2570
 __________________________________________

 This Document Relates to Plaintiff(s):

 Mobley, Nicky

 Case No. 1:19-cv-00231



        Considering the parties’ Stipulated Dismissal with Prejudice:

        IT IS HEREBY ORDERED, ADJUDGED AND DECLARED that all claims of

 Plaintiff(s) against the Cook Defendants in this Action are hereby dismissed with prejudice.

 Plaintiff’s Complaint is hereby dismissed in its entirety, with prejudice. Each party shall bear its

 own costs.

 Signed this             day of                                , 2022.




                                               HONORABLE RICHARD L. YOUNG
                                               UNITED STATES DISTRICT JUDGE
                                               SOUTHERN DISTRICT OF INDIANA
